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                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF NEW YORK

 CONGREGATION YESHEOS YAKOV, by
 and through RABBI MOSHE ROSNER;
 CONGREGATION OHOLEI SHEM                                     Docket No. 7:20-cv-08580
 D’NITRA, by and through RABBI SAMUEL
 TEITELBAUM; and CONGREGATION
 NETZACH YISROEL, by and through
 RABBI CHAIM LEIBISH ROTTENBERG,
                                                    COMPLAINT FOR DECLARATORY AND
                   Plaintiffs,                            INJUNCTIVE RELIEF

              v.

 THE STATE OF NEW YORK and
 ANDREW M. CUOMO, in his official
 capacity as Governor of New York State,

                    Defendants.



       Plaintiffs Congregation Yesheos Yakov, by and through Rabbi Moshe Rosner,

Congregation Oholei Shem D’Nitra, by and through Rabbi Samuel Teitelbaum, and Congregation

Netzach Yisroel, by and through Rabbi Chaim Leibish Rottenberg (collectively, “Plaintiffs”),

through their undersigned attorneys of record, Dhillon Law Group Inc., as and for their claims

against defendants the State of New York, and Andrew M. Cuomo, in his official capacity as the

Governor of New York State (“Governor Cuomo”), allege and complain as follows:

                                     NATURE OF THE ACTION

       1.      On October 6, 2020, Governor Cuomo issued a targeted executive order intended

to restrict the rights and activities of specific minority religious communities during one of the

most important religious holidays in their faith.
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        2.       The Governor freely and repeatedly admitted his decision was not driven by

science, or data, but, by “fear.”1

        3.       Based on this fear, and not on any epidemiological or other objective data,

Governor Cuomo’s Executive Order No. 202.68 (“E.O. 202.68” or “the Order”) established color-

coded COVID-19 “hot-spot” zoning areas subject to gathering limits and restrictions that singled

out as “hot-spots” known enclaves of the Hasidic and strictly-observant Jewish Orthodox

communities.

        4.       Governor Cuomo justified the creation of these religious-observance-based zones

by repeating a false claim that a new “cluster” of COVID-19 positive tests was emerging as “a

predominantly ultra-orthodox cluster.”2

        5.       The Order was to be enforced “no later than October 9, 2020,” the date of the sacred

Jewish holy day of Hoshana Rabbah, which is followed immediately in the Jewish calendar by the

festival days of Shemini Atzeres, and Simchas Torah.

        6.       E.O. 202.68 created special and particularly draconian “House of Worship”

restrictions, limiting attendance at houses of worship to ten people in red zones, and twenty-five

people in orange zones, regardless of facility occupancy limits.

        7.       Plaintiffs are prominent representatives of these targeted Jewish minority

communities that have been unfairly singled out by this fear-driven Executive Order due to

numerous recent false and discriminatory statements directed towards these communities by

Governor Cuomo. Governor Cuomo went so far in his conversations with the orthodox community


1
  See, “Exclusive Full Recording: Jewish Leaders Say They Were ‘Stabbed in the Back’ by Cuomo, HaModia
online, October 12, 2020, available as of the date of filing at https://hamodia.com/2020/10/12/exclusive-recording-
jewish-leaders-say-stabbed-back-cuomo/ (Governor Cuomo: “I’m one-hundred percent frank and candid…this is a
fear driven response”).
2
  See, New York Post online, “Cuomo calls COVID-19 resurgence an ‘ultra-Orthodox’ Jewish problem,” October 9,
2020, available as of the date of filing at https://nypost.com/2020/10/09/gov-cuomo-ny-covid-19-spike-an-ultra-
orthodox-jewish-problem/.


                                                         2
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as to threaten that if these communities did not “agree” to follow the Order, he would “close down

[their] religious institutions.”

            8.     The use of religious observance as an admitted proxy for policies purporting to be

based on controlling the spread of COVID-19 presents both facial and as-applied challenges to

E.O. 202.68 and the series of prior Executive Emergency Orders issued by Governor Cuomo

beginning on March 7, 2020 (collectively, “Orders”), as further discussed below.

            9.     Defendants’ actions, including inter alia, the implementation of gathering limits

wholly divorced from science-based determinations following the Center for Disease Control’s

(CDC) social distancing guidelines, and related restrictions deeming the constitutionally-

privileged conduct of congregate worship as “non-essential,” deprives Plaintiffs and all other

residents of New York City of fundamental rights protected by the constitutions of the United

States and the State of New York and New York law and Administrative Code, including the

freedoms of religion, speech, and assembly, as well as due process and equal protection under the

law.

            10.    Moreover, Governor Cuomo has already admitted the Order is not rationally-

related or narrowly-tailored to the goal of stopping the spread of COIVD-19. Specifically,

Governor Cuomo has admitted the Order was not a “highly nuanced, sophisticated response,” but

instead a “fear-driven response.” He has additionally admitted the policy was not being “written

by a scalpel,” but “being cut by a hatchet,” and was “not the best way to do it.” Governor Cuomo

suggested that, at a later date when “anxiety” had lessened, he would try to design a “smarter, more

tailored approach” that did not target minority faiths.3




3
    See, fn. 1.


                                                   3
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       11.       Despite repeated entreaties for the Governor to rescind and rethink his Order

singling out particular religious’ communities and Houses of Worship for discriminatory

treatment, Governor Cuomo has not relented. Plaintiffs are now forced bring this action beseeching

this Court to intervene to protect their most sacred rights from this religiously-motivated, fear-

driven, irrational Order.

                                  JURISDICTION AND VENUE

       12.        This action arises under 42 U.S.C. § 1983 in relation to defendants’ deprivation of

plaintiffs’ constitutional rights to freedom of religion, speech, and assembly, due process, and

equal protection rights under the First and Fourteenth Amendments to the U.S. Constitution.

       13.       This action arises under 42 U.S.C. § 1983 in relation to defendants’ deprivation of

plaintiff’s constitutional rights to freedom of religion, speech, and assembly, due process, and

equal protection rights under the First and Fourteenth Amendments to the U.S. Constitution.

Accordingly, this Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and 1343. This

Court has authority to award the requested declaratory relief under 28 U.S.C. § 2201; the requested

injunctive relief and damages under 28 U.S.C. § 1343(a); and attorneys’ fees and costs under 42

U.S.C. § 1988.

       14.       The Court also has supplemental jurisdiction over the related state law claims set

forth herein.

       15.       The Southern District of New York is the appropriate venue for this action pursuant

to 28 U.S.C. §§ 1391(b)(1) and (2) because it is the District in which plaintiffs are located and it

is the District in which substantially all of the events giving rise to the claims occurred.

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                                          PARTIES

       16.    Plaintiff Congregation Yesheos Yakov, by and through Rabbi Moshe Rosner,

(“Yesheos Yakov” or “Rabbi Rosner”) is an orthodox Jewish synagogue located at 15 Cedar Lane,

Monsey, NY 10952, and within the “red zone” created by E.O. 202.68.

       17.     Plaintiff Congregation Oholei Shem D’Nitra, by and through Rabbi Samuel

Teitelbaum, (“Nitra” or “Rabbi Teitelbaum”) is an orthodox Jewish synagogue located at 50

Commerce Street, Spring Valley, NY 10977, and within the “red zone” created by E.O. 202.68.

       18.    Plaintiff Congregation Nitzach Yisroel, by and through Rabbi Chaim Leibish

Rottenberg (“Netzach Yisroel” or “Rabbi Rottenberg”) is an orthodox Jewish synagogue located

at 49 Forshay Road, Monsey, NY 10952, and within the “yellow zone” created by E.O. 202.68.

       19.    Defendant State of New York is sued by and through Andrew M. Cuomo, in his

official capacity as Governor of the State of New York.

       20.    Defendant Andrew M. Cuomo is sued in his official capacity as Governor of the

State of New York.

       21.    Each and every defendant has acted under color of state law with respect to all acts

or omissions herein alleged.

                                FACTUAL ALLEGATIONS

I.     THE CORONAVIRUS EMERGENCY AND RELATED EXECUTIVE ORDERS

       22.    On or about March 13, 2020, President Donald J. Trump proclaimed a National

State of Emergency as a result of the threat of the emergence of a novel coronavirus, COVID-19.

       23.    This national declaration followed the March 7, 2020 New York State Executive

Order 202, by which New York’s Governor Andrew M. Cuomo declared a state disaster




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emergency to begin emergency response to contain the spread of the virus in this state, which has

been the hardest hit.

        24.     On March 10, 2020, Governor Cuomo announced new protocols in place for the

growing cluster in New Rochelle in Westchester County under the advisement of the state’s

Department of Health, which included closing schools, houses of worship and other large gathering

facilities specifically within a one-mile radius in New Rochelle and for a limited time period.

        25.     On March 12, New York’s Governor limited mass gatherings, directing events with

500 or more individuals in attendance to be cancelled or postponed, and requiring that any events,

gatherings, or places of business with fewer than 500 individuals in attendance be required to cut

capacity by 50 percent.

        26.     On March 19, 2020, Governor Cuomo signed additional executive orders

mandating a decrease in in-office workforce by 75 percent, but excepting “essential service

industries,” defined as shipping, media, warehousing, grocery and food production, pharmacies,

healthcare providers, utilities, banks and related financial institutions, and other industries deemed

critical to the supply chain.

        27.     On March 20, 2020, Governor Cuomo signed an executive order deemed the “New

Yok State on PAUSE Executive Order” (“PAUSE Order”) requiring that all “non-essential

businesses” statewide be closed effective 8 p.m. on Sunday, March 22, 2020; requiring that all

“non-essential” gatherings of individuals of any size for any reason be canceled or postponed;

mandating that any concentration of individuals outside their home be limited to workers providing

essential services; and mandating social distancing.




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        28.      The March 20, 2020, order stated that when in public, individuals must practice

social distancing of at least six feet from others, and that businesses and entities that provide

essential services implement rules that facilitate social distancing of at least six feet.

        29.      That same date, Governor Cuomo published on his office’s official website,

“Guidance on Essential Services Under The ‘New York State on PAUSE’ Executive Order” (the

“State Guidance”) which stated, “Houses of worship are not ordered closed however it is strongly

recommended no congregate services be held and social distance maintained.” Worship services

of more than 50 or more participants, however, were banned.4

        30.      On March 23, 2020, Governor Cuomo issued Executive Order 202.10, which

prohibited all non-essential gatherings of any size for any non-essential business. The guidance on

“essential businesses” did not include houses of worship as “essential business.”5

        31.      On April 26, 2020, Governor Cuomo announced a phased approach to reopen

industries and businesses in New York on a county by county basis.6

        32.      On May 21, 2020, Governor Cuomo issued Executive Order No. 202.32, which

lifted the ban on non-essential gatherings but put a cap of ten (10) people on such gatherings.

        33.      On June 6, 2020, Governor Cuomo issued Executive Order No. 202.38, which

altered the ten-person cap on non-essential gatherings to allow houses of worship in Phase 2 to

have twenty-five percent (25%) occupancy.




4
  State Guidance available as of the date of filing at https://www.governor.ny.gov/news/governor-cuomo-issues-
guidance-essential-services-under-new-york-state-pause-executive-order.
5
  See guidance available as of the date of filing at https://www.governor.ny.gov/news/governor-cuomo-issues-
guidance-essential-services-under-new-york-state-pause-executive-order.
6
  See announcement available as of the date of filing at https://www.governor.ny.gov/news/amid-ongoing-covid-19-
pandemic-governor-cuomo-outlines-phased-plan-re-open-new-york-starting.


                                                       7
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         34.     For others, Guidance for “Phase Two Industries” limited indoor capacity to no more

than fifty percent (50%) of maximum capacity.7

         35.     On June 15, 2020, Governor Cuomo issued Executive Order 202.42, which

modified the cap of ten (10) people on any non-essential gathering to allow twenty-five (25) or

fewer individuals, for any lawful purpose or reason, provided that the location of the gathering is

in a region that has reached Phase 3 of the State’s reopening.

         36.     On June 24, 2020, Governor Cuomo announced that the twenty-five percent (25%)

occupancy cap on houses of worship would be lifted to (thirty-three percent) 33% for regions that

qualified for Phase IV of New York State’s Reopening Plan.8

         37.     On June 26, 2020, a federal judge granted an injunction against Governor Cuomo’s

arbitrary treatment of houses of worship when compared to other non-essential businesses (e.g.,

restricting the former to, at most, thirty-three percent (33%) while allowing up to fifty percent

(50%) for the latter.) (See, Rev. Steven Soos et al. v. Andrew M. Cuomo et al., 1:20-cv-651

(GLS/DJS) (N.D.N.Y. June 26, 2020) (ECF No. 35) (the “Soos Injunction”). The Soos Injunction

effectively raised the cap on houses of worship in regions higher than Phase 1 to fifty percent

(50%).

II:      THE SOOS INJUNCTION

         38.     The Northern District of New York issued the Soos Injunction following Governor

Cuomo’s endorsement of mass demonstrations involving tens of thousands, packed into small




7
  See, e.g., Reopening New York: Essential and Phase II Retail Business Guidelines for Employers and Employees,
available as of the date of filing at
https://www.governor.ny.gov/sites/governor.ny.gov/files/atoms/files/GeneralRetailSummaryGuidance.pdf.
8
  See announcement available as of the date of filing at https://www.governor.ny.gov/news/governor-cuomo-
announces-five-regions-track-enter-phase-iv-reopening-friday.


                                                       8
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spaces, while outdoor gatherings, including graduations, funerals, were prohibited “non-essential

gatherings.”

        39.      The Soos Injunction further enjoined Governor Cuomo from restricting indoor

religious gatherings to 25% of building capacity and mandated that he and other State of New

York employees afford indoor religious gatherings the same capacity limitations afforded to

“Phase Two industries,” which was – at a minimum – 50%. Some industries in Phase Two were

permitted to resume opening at 100% capacity, with no numerical cap.

        40.      As of the date of this filing, the State of New York was supposed to be in “Phase

Four” of the New York Forward Plan (“NYFP”), which of course, permitted certain ad hoc

adjustments to be made at Governor Cuomo’s unfettered discretion––e.g., no indoor dining in New

York City despite its allowance elsewhere in Phase Four.

        41.      Yet not even under Phase Four has Governor Cuomo permitted a full restoration of

plaintiffs’ constitutional rights and the rights of other New York residents. It has been more than

200 days since the coronavirus entered New York, yet religious services are still uniquely confined

to 33% of indoor capacity––despite the Soos Injunction prohibiting limitations beyond a minimum

of 50% capacity.

III:    E.O. 202.68 –– A “FEAR-DRIVEN RESPONSE”

        42.      On October 6, 2020, Governor Cuomo signed Executive Order 202.68.9

        43.      E.O. 202.68 establishes various color-coded COVID-19 “hot-spot” zoning areas

that are subject to gathering limits and restrictions, establishing, in frank disregard of the Soos

Injunction and other applicable law, a specific “House of Worship” category that expressly singles

out religious places of worship and arbitrarily limits the number of attendees permitted.


9
 Available as of the date of filing at https://www.governor.ny.gov/news/no-20268-continuing-temporary-
suspension-and-modification-laws-relating-disaster-emergency.


                                                       9
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         44.       As a result of this Executive Order, six hot spots were created in the state of New

York. Two of these hot spots are in Queens, one in Brooklyn, one in Orange County, one in

Broome County, and one in Rockland County.10

         45.       If a House of Worship is located within the Red Zone of a Cluster, they are limited

to 25% of maximum capacity of the building or 10 people, whichever is less.11

         46.       If a House of Worship is located within the Yellow Zone of a Cluster, they are

limited to 50% of maximum capacity of the building.12

         47.       The restrictions placed on Houses of Worship are even more stringent than those

placed on so-called “essential businesses” and other categories.

         48.       The Rockland County Red Cluster Zone is approximately 7 square miles.




10
   Available as of the date of filing at https://forward.ny.gov/.
11
   Available as of the date of filing at https://forward.ny.gov/cluster-action-initiative.
12
   Id.


                                                            10
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       49.     Within the Rockland County Red Cluster Zone, there are 133 synagogues, 20

yeshivas, and 14 Jewish day schools.

       50.     All plaintiffs in this lawsuit are in the Rockland County Cluster Zone.

       51.     Governor Cuomo admitted to Jewish leaders that the coronavirus-related studies

overwhelmingly show that E.O. 202.68 was not promulgated based on scientific evidence or

health-based policy. Governor Cuomo stated that “…this is a fear driven response”.

       52.     Rockland County has a population of 325,789 people.13

       53.     Rockland County official Dashboard reports that there are currently only 26 people

in the entire county who are being hospitalized for COVID-19.14

       54.     Daily deaths attributed to COVID-19 have continued to decline since mid-April

and have reached statistical zero in New York.




       Source: https://ycharts.com/indicators/new_york_coronavirus_deaths_per_day


13
   U.S. Census, available as of the date of filing at
https://www.census.gov/quickfacts/fact/table/rocklandcountynewyork/PST045219.
14
   Available as of the date of filing at
https://www.arcgis.com/apps/opsdashboard/index.html#/d074e0336e81449393a76d1768ceb096.


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       55.     On October 11, 2020, deaths attributed to COVID-19 fell to just five (5) out of a

population of 19,000,000 people (0.00000026% of the population).

       56.     The data conclusively demonstrates there is no rational basis upon which Governor

Cuomo can continue to rely to perpetuate this state of “disaster emergency” – let alone suspend

the fundamental rights guaranteed to plaintiffs and other New York residents in the process.

       57.     E.O. 202.68 is blatantly anti-Semitic, creating religious-observance based color

coded “hot-spot” zones directed towards particular Jewish communities.

       58.     E.O. 202.68 not only flagrantly flies directly in the face of scientific evidence and

the Soos Injunction––E.O. 202.68 specifically singles out the orthodox Jewish community in what

has proven to be the latest extension of Governor Cuomo’s streak of anti-Semitic discrimination.

       59.     On October 5, 2020, Governor Cuomo stated:

       I have to say to the Orthodox community tomorrow, if you’re not willing to live
       with these rules, then I’m going to close the synagogues… I’m going to say to the
       Orthodox community tomorrow, if you don’t agree, then we will have to close
       down your religious institutions.

       If the religious leaders do not agree to abide by these rules then we will close the
       religious institutions, period.

       60.     Further proving that the October 6, 2020 Executive Order is not narrowly tailored,

Governor Cuomo himself admitted that the restrictions could be “smarter, more tailored.” In an

October 6, 2020, phone call with Jewish leaders, when asked why restrictions could not be more

tailored (such as allowing preschools to remain open as there were no COVID-19 diagnoses),

Governor Cuomo stated:

       I don’t disagree with you, and look, I’m a hundred percent frank and candid. This
       is not a highly nuanced, sophisticated response, this is a fear driven response,
       this is not a policy being written by a scalpel, this is a policy being cut by a hatchet,
       it’s just a very blunt, I didn’t propose this, you know, it was proposed by the mayor
       [Blasio] in the city. I’m trying to sharpen it and make it better, but it’s out of fear,
       people see the numbers going up, close everything! Close everything! It’s not the



                                                  12
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            best way to do it, but it is a fear drive response, the virus scares people, hopefully
            we get the numbers down in the zip codes, the anxiety comes down, and then we
            can have a smarter, more tailored approach, you’re point is right, why close every
            school? Why don’t you test the schools and close the ones that have a problem, I
            know, but, first, I don’t know that we have the resources to do that now, but I can
            tell you honestly, the fear is too high, to do anything other than . . . . Let’s do
            everything we can do to get the infection ate down now, close the doors, close the
            windows, that’s where we are, uh [Health] commissioner do you want add
            something?

            In New York City, we have a real problem with fear and anxiety, and people losing
            confidence in the city, who’s moving out, who’s afraid . . . it is a blunt policy, I
            agree with you, but at this point I don’t think we can do anything more
            sophisticated. Hopefully we get it under control in a few weeks, people take a deep
            breath, and then we can have a more intelligent, sophisticated policy. 15

            61.     The Governor followed through on his word and issued E.O. 202.68, closing the

synagogues effective October 9, 2020–– the date of the sacred Jewish holy day of Hoshana

Rabbah, which is immediately followed by the festival days of Shemini Atzeres, and Simchas

Torah (the “Hoshana Rabbah Edicts”).

IV.         PLAINTIFFS’ BACKGROUND & THE HOSHANA RABBAH EDICTS

            62.     Congregation Ohalei Shem D’Nitra (“Nitra”) is a six-days-a-week minyan in a

school building comprised of over 8,000 square-feet, with two floors and six classrooms, offices,

a dining area and worship hall. Besides being large enough to house 80 students and eight staff,

the worship hall accommodates over 100 persons and daily services can include community

members and other friends of the school, Yeshiva Ohalei Shem.

            63.     Although its present facility in Monsey dates to 2015, Nitra is affiliated with a

network of rabbinical and religious schools originally founded in Nitra, Slovakia, in 1907 and

which now has branches in Brooklyn, Chester and Mount Kisco, New York. Nitra Yeshiva was

the last surviving yeshiva in occupied Europe during World War II. Its name resonates among



15
     See, fn. 1


                                                     13
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American Jews because of the tireless efforts of the yeshiva head’s son in law, Rabbi Michael Dov

Weissmandl, to save the Jews of Slovakia and Hungary.

       64.     Under Rabbi Weissmandl’s leadership, the yeshiva was reestablished in the United

States in 1946, first in Somerville, New Jersey, around a core of surviving students from the

original Nitra Yeshiva. It is accredited by the Association of Advanced Rabbinical and Talmudic

Schools.

       65.     Congregation Yesheos Yakov is located in a multi-story house of worship with a

rabbi’s residence at 15 Cedar Lane in Monsey, having a capacity of at least 70 and is host to

approximately 50 worshippers on a typical Sabbath or festival. Rabbi Rosner leads a congregation

popularly known as “Tertzal,” named for the Hungarian town of Tarcal, of whom the vast majority

were murdered during the Holocaust. Rabbi Rosner is a descendant of Yehoshua Heshil Rosner,

who perished in the Holocaust in 1944.

       66.     As set forth above, Governor Cuomo promulgated E.O. 202.68 “to temporarily

suspend or modify any statute, local law, ordinance, order, rule, or regulation, or parts thereof…”

in response to the state of emergency he declared in March to be enforced “no later than October

9, 2020.”

       67.     As set forth above, Governor Cuomo has made numerous public statements that are

negative, false, and discriminatory concerning the Jewish Orthodox community, one of which was

his claim on October 6, 2020, that “The cluster is a predominantly ultra-orthodox cluster.”

       68.     Governor Cuomo has also said “the orthodox community tomorrow if you don't

agree then we will have to close down your religious institutions.”

       69.     Governor Cuomo’s restrictions have caused considerable pain and frustration to all

observant Jews, given their timing as well as the Governor’s express vitriol aimed at them as a




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religious and ethnic group, but particularly to Rabbi Rottenberg in light of his own history, both

distant and recent.

       70.     Congregation Netzach Yisroel was the site of a vicious anti-Semitic attack by an

African American man obsessed with Jewish influence and anti-Semitic propaganda in December

of 2019.

       71.     The community that was the target of the murderous attack on Rabbi Rottenberg’s

home and synagogue has flourished under his dedicated leadership, and survived that horrific night

by not only welcoming the Governor the next day when he called to offer consolation and support,

but by continuing with its planned dedication of new Torah scrolls despite the tragedy. The

community’s commitment to not being stopped, intimidated or scared is, in the view of its

members and its leadership, the key to its success and to Rabbi Rottenberg’s unique appeal and

the respect both domestically and internationally.

       72.     As Professor Josh Blackman wrote in a recent article describing this phenomenon,

“During the press conference, [Cuomo] made repeated references to the Jewish community. As

Cuomo would tell it, he is a Jew's best friend, but is benevolently restricting their rights to promote

the greater good. Stop me if you've heard this one before. . . . Governor Cuomo demonstrated a

hostility to Jews, without even recognizing it. Regrettably, he played on old, deeply rooted, and

painful anti-Semitic trope: that Jews spread diseases.”

       73.     As Blackman notes, “Drawing borders around Jewish communities harkens back

to a very evil practice during the Third Reich, and much earlier. Indeed, look at this map of

Rockland County, New York. There is only a red zone, and a yellow zone. No "buffer" orange

zone between the red and yellow. Cuomo must think that Jews will only stay in their red ghetto,




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and not dare travel across the street to Costco. And that non-Jews would not dare venture into the

red zone to get a knish. Maybe warning signs would help.”

       74.      “Cuomo played on yet another trope,” continues Blackman. “[T]hat Jews are

controlled by their rabbis. This cabalistic (cf. Kabbalistic) vision of Judaism plays into the image

of the Elders of Zion–that there are several powerful Jews sitting around a table, pulling the strings.

If only Cuomo talks to the right Rabbis, everything will be fine. The peons will fall into line.”

       75.      In his October 8, 2020 letter to Governor Cuomo, however, Rabbi Rottenberg wrote

as follows:

       We are pained to remind Your Honor of the visit you made to Rabbi Rottenberg’s
       home less than a day after, in that very place, a machete-wielding man slashed five
       congregants attending a Hanukkah celebration on December 28th of last year.

       Governor Cuomo, Rabbi Rottenberg’s pain concerning your actions cannot
       adequately be stated. Nor can his disappointment concerning the failure here to
       recognize that what the State deems “non-essential” is, for him and other religious
       faithful, not only an essential thing. It is the only thing, to which all other
       considerations short of literal threats to human life, which cannot be said to be at
       stake here, come far behind.

       As you know, following the Hannukah attack, Congregation Netzach Yisroel
       continued with its planned post-Sabbath “Melave Malkah” celebration for the same
       night. To non-members of the community, this commitment and strength was a
       wonder; to Hasidim and others familiar with and who share the values of this
       community, it was no less heroic for being entirely characteristic. It is the
       community—the kehillah—that felt the pain of the tragic attack; it was the kehillah
       that came together to show its resolution never to be dissuaded, much less
       terrorized, from its way; and it is the kehillah, sadly, both in Monsey and throughout
       the region, that feels targeted unfairly by the new regulations planned to go into
       effect tomorrow.

       76.      Plaintiffs received no response to their letter to the Governor.

V.     THE OBLIGATION OF COMMUNAL WORSHIP IN JUDAISM

       77.      For Jews, communal worship is an essential service for which untold thousands

have risked and sacrificed their lives.




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       78.     Orthodox Jewish men have a strict religious obligation to engage in three daily

prayer services on every weekday – one each in the morning, afternoon and night – and four on

the Sabbath and most festival days. These prayers were ordained to correspond to the public

sacrificial offerings ordained in the Torah and which in ancient times were brought in the Holy

Temple in Jerusalem.

       79.     The Torah also requires that these regular services, wherever possible and with due

respect for countervailing risks of health and safety, be conducted in the presence of a quorum of

ten adult men called a minyan, and ideally in a location set aside for prayer such as a synagogue.

       80.     It is a principle of normative traditional Judaism that when one prays with a minyan,

his or her prayers are more readily accepted by virtue of the merit of collective worship.

       81.     Additionally, a synagogue is considered a miniature version of the Holy Temple

that stood in Jerusalem because such a facility is set aside and used consistently for collective

prayers that parallel the ancient services conducted in the Temple.

       82.     Certain key aspects of Jewish religious services can, as a matter of normative

traditional Judaism, only be performed in a minyan. These include the recitation of the various

kaddish prayers, including the well-known Mourner’s Kaddish, the public reading of the Torah on

Sabbaths, Mondays and Thursdays, and many other aspects of Jewish traditional worship in which

traditional Jews have engaged consistently for thousands of years.

       83.     The minyan is so central to traditional Judaism that, in eras of the most extreme and

barbaric religious oppression of Jews and Jewish practices, Jews have risked their freedom,

property and lives to engage in communal prayer.




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       84.     The synagogue as a living institution has been critical to the survival of the Jewish

people, especially since the destruction of the Temple in Jerusalem. As historian Paul Johnson

writes, after the Destruction in year 70 of the Common Era,

       The rabbi and the synagogue became the normative institutions of Judaism, which
       from now on was essentially a congregationalist faith. . . . A number of synagogues
       and tombs from the time of the [Talmudic] sages have survived in Palestine. . . . At
       Capernaum, where the centurion whose servant Jesus healed built a synagogue, its
       second–third-century successor was excavated between 1905 and 1926 . . .

       85.     Similarly, historian Will Durant writes, after describing the burning of a synagogue

in Orléans, France in the year 560,

       From such tribulations the Jews of the Dispersion always recovered. Patiently they
       rebuilt their synagogues and the lives . . . Each settlement was required to maintain
       at communal expense at least one elementary and one secondary school, both of
       them usually in the synagogue. . . . The faith of their fathers became more precious
       to the Jews the more it was attacked; and the Talmud and the synagogue were
       indispensable support and refuge of an oppressed and bewildered people whose life
       rested on hope, and their hope on faith in their God.

       86.     Thus synagogues--living, active, and open synagogues--have always been essential

to Jewish life, and no less so than in times of stress and sorrow. For example, in 2005, according

to the Associated Press, a secret 16th-century synagogue, built when Portugal’s Jews had been

forced to convert to Catholicism or risk being burned at the stake, was hidden behind a false wall

in a four-story house in the Portuguese city of Porto. The New York Times reported, in 2015, the

discovery of three “strange little” rooms on the same piazza in Venice--16th-century synagogues

hidden on the upper floors of crumbling buildings slated for restoration.

       87.     In his book The Holocaust in the Soviet Union, Yitzhak Arad describes the religious

practices of the Jews of Bessarabia and Bukovina, who, packed onto trucks for deportation to death

camps, nonetheless formed spontaneous minyan when the trucks would halt in order to pray

collectively for an end to the persecution their people were suffering, and continued to do so even




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in their final destinations until they could do so no more. The United Methodist Church in

Trondheim, Norway hid a secret synagogue, at the risk of death to both the hidden and the hiders,

during the occupation of Norway in World War II, which was host--during the occupation – to

regular communal services and even bar mitzvahs.

       88.     Even today, the Associated Press reported in October of last year, observant Jews

in Dubai conduct, at considerable risk, a secret synagogue minyan approved by the government

but not by anti-Jewish extremists in that Muslim country in order to participate fully in the

requisites of traditional Jewish observance.

VI.    DEFENDANTS’ DISCRIMINATORY POLICIES AND CONDUCT

       89.     Observant Jews have been at considerable pains, with exceptions that have been

few notwithstanding the considerable publicity given to them, as set forth in more detail below, to

comply with the emergency restrictions established by the State, including by shuttering hundreds

of synagogues and study halls and eliminating communal worship.

       90.     Defendants’ issuance and enforcement of the Orders has made all but the most

minimal communal religious worship in the State of New York unlawful regardless of whether or

not such gatherings take place while utilizing even the strictest social distancing guidelines,

whether meeting or even exceeding CDC or New York State guidelines in terms of person-to-

person special distancing, the use of masks, or any other factor for all other activities.

       91.     Defendants’ issuance and enforcement of the Orders has essentially made

communal religious worship in the State of New York unlawful for women and children, who are

not counted toward the count of ten male adults for a prayer quorum or minyan, for an indefinite

period of time. As a result, their presence as part of any group of 10 worshippers would result in

such a gathering falling short of a minyan.




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        92.     Defendants’ issuance and enforcement of the Orders has made communal religious

worship in the State of New York unlawful without reference to epidemiological, statistical or

other objective criteria in terms of their enforcement, duration or review and without either a

mechanism or a standard for review, appeal, reconsideration or other due process.

VII.    DEFENDANTS’ DISCRIMINATORY ENFORCEMENT OF THE ORDERS

        93.     Ultimately, in addition to relegating plaintiff’s faith activities to at best second-

class status, defendants have threatened plaintiffs with criminal penalties for holding in person

services, and have thus substantially burdened their religious exercise by forcing them to choose

between their sincerely held religious beliefs and their desire to follow secular rules, in many cases

imposed by unelected officials.

        94.     As set forth below, the burden on religious practice resulting from defendants’

conduct in promulgating and enforcing the Orders is neither neutral nor generally applicable; does

not satisfy a compelling governmental interest; is not narrowl- tailored to achieve any such interest

that may be found; and constitutes unlawful discrimination under law.

                                          CLAIMS
                                  FIRST CLAIM FOR RELIEF

                Violation of the Free Exercise Clause of First Amendment to the
                                        U.S. Constitution
                                       (42 U.S.C. § 1983)

        95.     Plaintiffs incorporate by reference the allegations in the preceding paragraphs, as

if fully set forth herein.

        96.     Plaintiffs’ sincerely held religious beliefs require them to participate and gather in

communal worship, celebration, prayer, and teaching.

        97.     The Orders, and defendants’ enforcement thereof, violate the First Amendment,

both facially and as-applied to plaintiffs. The Orders substantially burden plaintiff’s ability to


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carry out essential tenants and requirements of their faith, by forbidding them to preside over and

participate in religious gatherings, subject to arbitrary numerical size limitations.

        98.      The First Amendment of the Constitution protects the “free exercise” of religion.

Fundamental to this protection is the right to gather and worship. See W. Va. State Bd. of Educ. v.

Barnette, 319 U.S. 624, 638 (1943) (“The very purpose of a Bill of Rights was to withdraw

certain subjects from the vicissitudes of political controversy, to place them beyond the reach of

majorities and officials and to establish them as legal principles to be applied by the courts …

[such as the] freedom of worship and assembly.”). The Free Exercise Clause applies to the states

through the Due Process Clause of the Fourteenth Amendment. Cantwell v. Connecticut, 310

U.S. 296 (1940).

        99.      As the Supreme Court has noted, “a law burdening religious practice that is not

neutral or not of general application must undergo the most rigorous of scrutiny.” Church of the

Lukumi Babalu Aye, Inc. v. Hialeah, 508 U.S. 520, 546 (1993). “A law is not generally

applicable if its prohibitions substantially underinclude non-religiously motivated conduct that

might endanger the same governmental interest that the law is designed to protect.” Id. at 542–

46.

        100.     The Orders are neither neutral nor of general application. Defendants’ restrictions

not only have specifically and explicitly targeted Houses of Worship, but specifically targeted

the Jewish orthodox community, and are thus not neutral on their face.

        101.     Defendants have decided that Houses of Worship are not essential. Defendants

have prohibited various public and private gatherings deemed “non-essential,” while exempting a

laundry list of industries and services purportedly “essential” to the government’s various

interests.




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          102.     Defendants also selectively enforce their Orders, permitting secular gatherings. A

recent court decision noted the disparity and hypocrisy. See Soos. v. Cuomo, 1:20-cv-651

(GLS/DJS), 2020 WL 3488742 (N.D. N.Y. June 26, 2020).

          103.     In addition to relegating all faith activities to a second-class status (at best),

defendants have threatened criminal penalties for violating the Orders, and have thus

substantially burdened plaintiffs’ religious exercise by forcing them to choose between their

sincerely held religious beliefs and their desire to follow secular rules, and avoid harsh criminal

prosecution and penalty (the fine can be up to fifteen thousand ($15,000.00) per day).

          104.     Laws and government actions that burden religious practice and are either not

neutral or not generally applicable must satisfy a compelling governmental interest and be

narrowly tailored to achieve that end.

          105.     Defendants’ mandates are not “narrowly tailored” to further any compelling

governmental interest. Defendants have granted numerous special exemptions to their bans on

public gatherings and conduct, including for purportedly “essential” businesses and activities,

provided that social distancing practices are observed.

          106.     Requiring plaintiffs to abstain from religious gatherings, despite substantial

modifications to satisfy the public health interests at stake, violates plaintiffs’ Constitutional

right to free exercise of religion.

          107.     Plaintiffs have no adequate remedy at law and will suffer serious and irreparable

harm to their constitutional rights unless defendants are enjoined from further enforcing the

Orders.

          108.     Pursuant to 42 U.S.C. §§ 1983 and 1988, plaintiffs are entitled to declaratory

relief and temporary, preliminary, and permanent injunctive relief invalidating and restraining




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enforcement of the Orders.

         109.     Plaintiffs found it necessary to engage the services of private counsel to vindicate

their rights under the law. Plaintiffs are therefore entitled to an award of attorneys’ fees pursuant

to 42 U.S.C. § 1988.

                                      SECOND CLAIM FOR RELIEF

                  Establishment Clause of First Amendment to U.S. Constitution
                                       (42 U.S.C. § 1983)

         110.     Plaintiffs incorporate by reference the allegations in the preceding paragraphs, as

if fully set forth herein.

         111.     The Orders and defendants’ enforcement thereof violate the First Amendment,

both facially and as-applied to plaintiffs. The Establishment Clause of the “First Amendment

mandates governmental neutrality between religion and religion, and between religion and

nonreligion.” McCreary Cty., Ky. v. Am. Civil Liberties Union of Ky., 545 U.S. 844, 860 (2005)

(citing Epperson v. Arkansas, 393 U.S. 97, 104 (1968)). The Establishment Clause applies to the

states through the Due Process Clause of the Fourteenth Amendment. Everson v. Board of Ed. of

Ewing, 330 U.S. 1 (1947).

         112.     Defendants have not and do not act with a clearly secular purpose in adopting and

enforcing the Orders – recent statements publicly by defendants are negative, false, and show

discriminatory intent.16

         113.     The Orders and defendants’ ad hoc enforcement thereof have the primary effect

of inhibiting religious activity.



16
  One of many examples of Governor Cuomo’s animus and bias is reflected here: “I have to say to the Orthodox
community tomorrow, if you’re not willing to live with these rules, then I’m going to close the synagogues… I’m
going to say to the Orthodox community tomorrow, if you don’t agree, then we will have to close down your
religious institutions….If the religious leaders do not agree to abide by these rules then we will close the religious
institutions, period.” Andrew M. Cuomo, October 5, 2020.


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          114.     Defendants have failed to avoid excessive government entanglement with

religion.

          115.     There is no historical precedence in the United States for inhibiting religious

practices on terms more restrictive than those imposed on identical secular activities, as

defendants do now.

          116.     Plaintiffs have no adequate remedy at law and will suffer serious and irreparable

harm to their constitutional rights unless defendants are enjoined from further enforcing the

Orders.

          117.     Pursuant to 42 U.S.C. §§ 1983 and 1988, plaintiffs are entitled to declaratory

relief and temporary, preliminary, and permanent injunctive relief invalidating and restraining

enforcement of the Orders.

          118.     Plaintiffs found it necessary to engage the services of private counsel to vindicate

their rights under the law. Plaintiffs are therefore entitled to an award of attorneys’ fees pursuant

to 42 U.S.C. § 1988.

                                    THIRD CLAIM FOR RELIEF

                    Free Speech Clause of First Amendment to U.S. Constitution
                                        (42 U.S.C. § 1983)

          119.     Plaintiffs incorporate by reference the allegations in the preceding paragraphs, as

if fully set forth herein.

          120.     The Orders and defendants’ enforcement thereof violate the First Amendment,

both facially and as-applied to plaintiffs.

          121.     Under defendants’ Orders, public gatherings and religious services are severely

limited, and sometimes prohibited.




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          122.     Plaintiffs engage in protected speech through worship, religious discussions,

singing, and praying.

          123.     The Free Speech Clause was incorporated against the states in Gitlow v. New

York, 268 U.S. 652 (1925) (dicta) and Stromberg v. California, 283 U.S. 359 (1931).

          124.     Defendants’ imposition of the Orders is unreasonable and has a chilling effect on

protected speech by placing a severely restrictive numerical cap on Houses of Worship,

dependent upon a color-coded zone, under criminal penalty (“any individual who encourages,

promotes or organizes a non-essential gathering as set forth in Department of Health regulation,

shall be liable for a civil penalty not to exceed $15,000 per day…”).

          125.     The Orders are unconstitutionally overbroad, and therefore void as a matter of

law, both on their faces, and as it is applied.

          126.     Plaintiffs have no adequate remedy at law and will suffer serious and irreparable

harm to their constitutional rights unless defendants are enjoined from further enforcing the

Orders.

          127.     Pursuant to 42 U.S.C. §§ 1983 and 1988, plaintiffs are entitled to declaratory

relief and temporary, preliminary, and permanent injunctive relief invalidating and restraining

enforcement of the Orders.

          128.     Plaintiffs found it necessary to engage the services of private counsel to vindicate

their rights under the law. Plaintiffs are therefore entitled to an award of attorneys’ fees pursuant

to 42 U.S.C. § 1988.

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                                 FOURTH CLAIM FOR RELIEF

                  Violation of First Amendment Freedom of Assembly Clause
                                       (42 U.S.C. § 1983)

        129.     Plaintiffs incorporate by reference the allegations in the preceding paragraphs, as

if fully set forth herein.

        130.     The Orders and defendants’ enforcement thereof violate the First Amendment,

both facially and as-applied to plaintiffs. The First Amendment of the Constitution protects the

“right of the people peaceably to assemble.” The Freedom of Assembly Clause was incorporated

against the states in De Jonge v. Oregon, 299 U.S. 353 (1937).

        131.     “The right of free speech, the right to teach, and the right of assembly are, of

course, fundamental rights.” Whitney v. California, 274 U.S. 357, 373 (1927). When a

government practice restricts fundamental rights, it is subject to “strict scrutiny” and can be

justified only if it furthers a compelling government purpose and, even then, only if no less

restrictive alternative is available. See, e.g., San Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S.

1, 16-17 (1973); Dunn v. Blumstein, 405 U.S. 330 (1972).

        132.     By denying plaintiffs ability to conduct services, even services that comply with

the CDC guidelines for social distancing, defendants are in violation of the Freedom of

Assembly Clause. Defendants cannot meet the no-less-restrictive-alternative test. The CDC’s

social distancing guidelines are appropriate to limit the spread of COVID-19. Imposing more

restrictive requirements that target Houses of Worship, while at the same time allowing secular

gathering in secular businesses and institutions, is not the least restrictive means of achieving

defendants’ public safety goals. See DiMartile v. Cuomo, 1:20-CV-0859 (GTS/CFH), 2020 WL

4558711 (N.D. N.Y August 7, 2020); Roberts v. Neace, 958 F.3d 409, 416 (6th Cir. 2020); Soos.




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v. Cuomo, 1:20-cv-651 (GLS/DJS), 2020 WL 3488742 (N.D. N.Y. June 26, 2020); First Baptist

Church v. Kelly, No. 20-1102-JWB, 2020 WL 1910021 (D. Kan. April 18, 2020).

          133.     Requiring plaintiffs to abstain from religious gatherings, despite substantial

modifications to satisfy the public health interests at stake, violates plaintiffs’ Constitutional

right to peaceably assemble.

          134.     Plaintiffs have no adequate remedy at law and will suffer serious and irreparable

harm to their constitutional rights unless defendants are enjoined from further enforcing the

Orders.

          135.     Pursuant to 42 U.S.C. §§ 1983 and 1988, plaintiffs are entitled to declaratory

relief and temporary, preliminary, and permanent injunctive relief invalidating and restraining

enforcement of the Orders.

          136.     Plaintiffs found it necessary to engage the services of private counsel to vindicate

their rights under the law. Plaintiffs are therefore entitled to an award of attorneys’ fees pursuant

to 42 U.S.C. § 1988.

                                     FIFTH CLAIM FOR RELIEF

 Combined Violations of Substantive and Procedural Rights in the Due Process Clause of
              the Fifth and Fourteenth Amendment to U.S. Constitution
                                  (42 U.S.C. § 1983)

          137.     Plaintiffs incorporate by reference the allegations in the preceding paragraphs, as

if fully set forth herein.

          138.     The Orders and defendants’ enforcement thereof violate plaintiffs’ due process

rights secured by the Fifth and Fourteenth Amendment to the U.S. Constitution.

          139.     The Fifth Amendment of the U.S. Constitution declares that “[n]o person shall …

be deprived of life, liberty, or property without due process of law.” The Due Process clause

“forbids the government to infringe [on] fundamental liberty interests at all, no matter what


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process is provided, unless the infringement is narrowly tailored to serve a compelling state

interest.” Washington v. Glucksberg, 521 U.S. 701, 721 (1997) (internal quotations omitted).

       140.     Under the Due Process Clause of the Fourteenth Amendment, no State shall

“deprive any person of life, liberty, or property, without due process of law.” The fundamental

liberties protected by this Clause include most of the rights enumerated in the Bill of Rights. See

Duncan v. Louisiana, 391 U.S. 145, 147–149 (1968). In addition, these liberties extend to certain

personal choices central to individual dignity and autonomy, including intimate choices that

define personal identity and beliefs. See, e.g., Eisenstadt v. Baird, 405 U.S. 438, 453 (1972);

Griswold v. Connecticut, 381 U.S. 479, 484–486 (1965).

       141.     Plaintiffs’ rights to freedom of religion, assembly, speech, and travel are

fundamental rights protected by the U.S. Constitution. See, e.g., Aptheker v. Secretary of State,

378 U.S. 500, 520 (1964); Kent v. Dulles, 357 U.S. 116, 127 (1958).

       142.     When a government practice restricts fundamental rights such as the right to

practice religion freely, assemble peacefully, speak, and travel, it is subject to “strict scrutiny”

and can be justified only if it furthers a compelling government purpose, and, even then, only if

no less restrictive alternative is available. See, e.g. Memorial Hospital v. Maricopa County, 415

U.S. 250, 257-258 (1974); Dunn v. Blumstein, 405 U.S. 330, 339-341 (1972); Shapiro v.

Thompson, 394 U.S. 618, 89 (1969), Maher v. Roe, 432 U.S. 464, 488 (1977).

       143.     Strict scrutiny applies to plaintiffs’ claims because the Orders prohibit plaintiffs

from engaging in their constitutionally protected rights. These Orders do not permit plaintiffs to

exercise these rights, even while conforming to the CDC guidelines for social distancing, unless

defendants deem them “essential” or as participating in “essential” activities. Religious worship




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is not deemed essential according to the Orders. https://esd.ny.gov/ny-cluster-action-initiative-

guidance.

       144.     Defendants’ mandates are not “narrowly tailored” to further any compelling

governmental interest. Defendants allow and have granted numerous special exemptions to

secular activities. Since other activities can be permitted, there can be no doubt that defendants

may, and therefore must, permit plaintiffs to engage in equivalent constitutionally-protected

activities provided that plaintiffs also adhere to the social distancing guidelines.

       145.     The Orders and defendants’ enforcement thereof violate plaintiff’s substantive

due process rights as follows:

                a.     Plaintiffs have a right to lawfully pursue religious activities, a substantive

            due process right impaired by Defendants’ actions;

                b.     Defendants lack any legitimate or compelling interest for depriving

            plaintiffs of their right to engage in their sincerely held religious beliefs, which

            include meeting in person; and

                c.     Even if such a legitimate, compelling interest existed, the Orders are

            neither rationally related nor narrowly tailored to further any such interest.

       146.     The Orders and defendants’ enforcement thereof violate plaintiffs procedural due

process rights as follows:

                a.     The Orders provide no process to request redress;

                b.      Procedural due process, at a minimum, would permit plaintiffs to

            meaningfully respond to the Order (or the continuations thereof) and explain how and

            why the restrictions are unconstitutional as applied to plaintiffs. However, the Orders

            have prevented plaintiffs from challenging the application of the Orders, denying




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             plaintiffs any process whatsoever before plaintiffs’ rights were forcibly taken; and

                   c.     Further, this taking lasts indefinitely, with the State not providing for any

             mechanism or opportunity to review or challenge the need to continue restrictions in

             the light of developing events.

          147.     Plaintiffs have no adequate remedy at law and will suffer serious and irreparable

harm to their constitutional rights unless defendants are enjoined from further enforcing the

Orders.

          148.     Pursuant to 42 U.S.C. §§ 1983 and 1988, plaintiffs are entitled to declaratory

relief and temporary, preliminary, and permanent injunctive relief invalidating and restraining

enforcement of the Orders.

          149.     Plaintiffs found it necessary to engage the services of private counsel to vindicate

their rights under the law. Plaintiffs are therefore entitled to an award of attorneys’ fees pursuant

to 42 U.S.C. § 1988.

                                     SIXTH CLAIM FOR RELIEF

                             Violation of the Equal Protection Clause of the
                              Fourteenth Amendment to U.S. Constitution
                                            (42 U.S.C. § 1983)

          150.     Plaintiffs incorporate by reference the allegations in the preceding paragraphs, as

if fully set forth herein.

          151.     The Orders and defendants’ enforcement thereof violate the Fourteenth

Amendment, both facially and as-applied to plaintiffs. The Fourteenth Amendment of the

Constitution provides that “[n]o State shall . . . deny to any person within its jurisdiction the

equal protection of the laws.” Equal protection requires the state to govern impartially—not draw

arbitrary distinctions between individuals based solely on differences that are irrelevant to a

legitimate governmental objection.


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        152.     The equal protection doctrine prohibits “governmental classifications that affect

some groups of citizens differently than others.” Engquist v. Or. Dep’t. of Agric., 553 U.S. 591,

601 (2008) (citations omitted). The touchstone of this analysis is whether a state creates disparity

“between classes of individuals whose situations are arguably indistinguishable.” Ross v. Moffitt,

417 U.S. 600, 609 (1974). It applies even when the government treats a “class of one”

differently. Willowbrook v. Olech, 528 U.S. 562, 563 (2000).

        153.     While the rational basis test typically applies in this context, any law that

“involves a suspect classification, i.e. race, ancestry, and alienage, or … imping[es] upon a

fundamental right, i.e. privacy, marriage, voting, travel, and freedom of association” triggers

strict scrutiny. Hoffman v. United States, 767 F.2d 1431, 1434-35 (9th Cir. 1985) (citations

omitted).

        154.     Defendants intentionally and arbitrarily categorize individuals and conduct as

either “essential” or “non-essential.” Those persons classified as “essential,” or as participating

in essential services, are permitted to go about their business and activities provided certain

social distancing practices are employed. Those classified as “non-essential,” or as engaging in

non-essential activities, are required to stay in their residence, unless it becomes necessary for

them to leave for one of the enumerated “essential” activities.17

        155.     Strict scrutiny under the Equal Protection Clause applies where, as here, the

classification impinges on a fundamental right, including the right to practice religion freely, to

right to free speech and assembly, and the right to travel, among others.



17
  Interestingly, recent federal guidance expressly includes Houses of Worship as “essential.” Available as of the
date of filing at
https://www.cisa.gov/sites/default/files/publications/Version_4.0_CISA_Guidance_on_Essential_Critical_Infrastruc
ture_Workers_FINAL%20AUG%2018v3.pdf (see page 19, “Clergy and other essential support for houses of
worship”).



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          156.     Defendants cannot satisfy strict scrutiny, because their arbitrary classifications are

not narrowly tailored measures that further compelling government interests, for the reasons

stated above.

          157.     Plaintiffs have no adequate remedy at law and will suffer serious and irreparable

harm to their constitutional rights unless defendants are enjoined from further enforcing the

Orders.

          158.     Pursuant to 42 U.S.C. §§ 1983 and 1988, plaintiffs are entitled to declaratory

relief and temporary, preliminary, and permanent injunctive relief invalidating and restraining

enforcement of the Orders.

          159.     Plaintiffs found it necessary to engage the services of private counsel to vindicate

their rights under the law. Plaintiffs are therefore entitled to an award of attorneys’ fees pursuant

to 42 U.S.C. § 1988.

                                            PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

Defendants as follows:

          A.       An order and judgment declaring that the Orders, facially and as-applied to

plaintiffs, violate the First, Fifth, and Fourteenth Amendments to the U.S. Constitution;

          B.       An order temporarily, preliminarily, and permanently enjoining and prohibiting

defendants from enforcing the Orders or otherwise interfering with plaintiffs’ constitutional

rights and liberties;

          C.       For attorneys’ fees and costs pursuant to 42 U.S.C. § 1988 and any other legal

basis for such fees and costs as may apply; and

          D.       Such other and further relief as the Court deems appropriate and just.




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